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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION

   HANNAH AHERN,                                           Case No.: 3:21-cv-00561-YY

                   PLAINTIFF,
                                                           VIDEO EXHIBIT FOR DECLARATION
          V.
                                                           (In Support of Defendant City of Portland ' s
   ERIK KAMMERER, CITY OF                                  Reply in Support of Motion for Partial
   PORTLAND; and JOHN DOES 1-5,                            Summary Judgment)

                   DEFENDANTS.


          Enclosed are two USB thumb drives (one for the Clerks' Office and one Judge's Copy)

   with the following listed video exhibit files . A video placeholder page has already been filed

   with the Court with the declarations for each of the following listed exhibits/docket numbers.

          •        ECF 88-7 - Exhibit 32 to the Supplemental Declaration of William W. Manlove.

          Conventionally Filed: March 22, 2024
                                                         Respectfully submitted,


                                                         Isl William W. Manlove
                                                         WILLIAM W. MANLOVE, OSB # 891607
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Page I -EXHIBIT 32 TO SUPPLEMENTAL DECLARATIO                              OF WILLIAM W. MANLOVE

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                                       A.hern v. City of Portland, et. al
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                                       Exhibit 32 to City's Reply ISO M}'SJ
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